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                                                               UNITED STATES DISTRICT COURT
                                   6                               DISTRICT OF ARIZONA

                                   7    New Parent World, LLC, a New Jersey for-
                                        profit corporation (d/b/a My Baby                   Case No. 3:23-CV-08089-DGC
                                   8    Experts),
                                                                                        ORDER GRANTING PLAINTIFF’S
                                   9                         Plaintiff,                   MOTION FOR PROTECTIVE
DELGADO ENTERTAINMENT LAW, PLLC




                                                                                                  ORDER
    3295 N. Drinkwater Blvd, #9




                                  10            vs.
       Scottsdale AZ 85251
          (480) 248-0657




                                  11    True To Life Productions, Inc., an Arizona
                                        for-profit corporation; Heritage House ’76,
                                  12    Incorporated, an Arizona for-profit
                                        corporation; Brandon Monahan, in his
                                  13    individual capacity,

                                  14                         Defendants.

                                  15            The Court, having considered Plaintiff’s Motion for Protective Order (the

                                  16   “Motion”), and for good cause appearing,

                                  17            IT IS HEREBY ORDERED granting Plaintiff’s Motion. The deposition of Plaintiff,

                                  18   Shari Criso (“Shari”), on behalf of herself and New Parent World, LLC, shall be conducted

                                  19   via a virtual platform, as mutually agreed upon by the parties.

                                  20            IT IS FURTHER ORDERED that Defendants are prohibited from further inquiring

                                  21   into Shari’s health information or records in any manner, unless otherwise ordered by this

                                  22   Court.

                                  23                                                    SIGNED AND DATED ABOVE

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